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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

ELLISDALE CONSTRUCTION, LLC,

       Plaintiff,

v.
                                                   Civil Action No. 1:20-cv-01590
RICHARD E. WARD, II,

       Defendant.


                         CORPORATE DISCLOSURE STATEMENT

       Plaintiff Ellisdale Construction, LLC (“Ellisdale”), by counsel, files this Disclosure

Statement pursuant to Rule 7.1 of the Federal Rules of Civil Procedure and Rule 7.1 of the Local

Civil Rules, and states: (1) Ellisdale is not a publicly traded corporation and has no parent or

subsidiary corporations; (2) no publicly held corporation owns ten (10) percent or more of

Ellisdale’s membership interest; and (3) Ellisdale has nothing to report under Local Civil Rule

7.1(A)(1)(a) and (b).

Dated: December 24, 2020                           Respectfully submitted,

                                                   /s/ Derek H. Swanson
                                                   Derek H. Swanson (VSB No. 73463)
                                                   DUNLAP BENNETT & LUDWIG PLLC
                                                   8003 Franklin Farms Dr., Suite 220
                                                   Richmond, Virginia 23229
                                                   Telephone: (804) 385-0620
                                                   Facsimile: (804) 977-2680
                                                   dswanson@dbllawyers.com

                                                   Thomas M. Dunlap (VSB No. 44016)
                                                   DUNLAP BENNETT & LUDWIG PLLC
                                                   8300 Boone Blvd, Suite 550
                                                   Vienna, Virginia 22182
                                                   Telephone: (703) 777-7319
                                                   Facsimile: (703) 777-3656
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                                         tdunlap@dbllawyers.com

                                         Michael W. Lehr (VSB No. 94859)
                                         DUNLAP BENNETT & LUDWIG PLLC
                                         8003 Franklin Farms Dr., Suite 220
                                         Richmond, Virginia 23229
                                         Telephone: (804) 477-8678
                                         Facsimile: (804) 977-2680
                                         mlehr@dbllawyers.com

                                         Counsel for Plaintiff




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